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                                                 September 27, 2022


        ViaECF

        Hon. Anne Y. Shields
        United States Magistrate Judge
        Eastern District of New York
        100 Federal Plaza
        P.O. Box 830
        Central Islip, New York 11722

                         Re:     Crown Castle Towers, et al. v Town of Riverhead, et al.
                                 2:21-cv-00789-JS-AYS

        Dear Judge Shields:

                We represent plaintiffs Crown Castle Towers 06-02 LLC, CCATT LLC, Global Signal
        Acquisitions III LLC, STC-FIVE LLC, New Cingular Wireless PCS, LLC, and Sprint Spectrum
        L.P. ("Plaintiffs") in the above-referenced action. We write this joint letter on behalf of Plaintiffs
        and defendants Town of Riverhead, Town of Riverhead Town Board, Town of Riverhead Zoning
        Board of Appeals, Town of Riverhead Planning Board, Jefferson V. Murphree the Town of
        Riverhead Building and Planning Administrator (in his official capacity) and Lizem Associates,
        LLC to provide the Court with an update on the status of the settlement documents in advance of
        the September 29, 2022 deadline to file a stipulation of dismissal set by the Court on August 31,
        2022, and to respectfully request a short extension of the same.

                The parties have agreed to terms and the settlement documents have been partially executed
        and will be executed by the remaining parties in the coming days. Based upon the foregoing, the
        parties respectfully request that the Court provide an additional three (3) weeks to October 20,
        2022 for the parties to file the fully-executed stipulation of settlement with consent order to be so-
        ordered by Your Honor.

                  We thank the Court for its consideration and assistance in this matter.
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                                            Respectfully submitted,




                                            Robert D. Gaudioso

 RDG/jdk

 cc: All parties via FCF




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